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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 04-80370

v.
                                                            Hon. John Corbett O’Meara
D-1    ALI ABDUL KARIM FARHAT, et al.,

            Defendants.
______________________________________/

                                             ORDER

       The court held oral argument on various motions in this case on March 30, 2006. For the

reasons stated on the record, the court rules as follows:

       IT IS HEREBY ORDERED that

       (1)     Defendants’ February 15, 2006 Motion to Dismiss [Docket # 384] is DENIED.

       (2)     Noura Berro’s (D-9) February 15, 2006 Motion for Disclosure pursuant to Rules

               404(b) and 609 [Docket # 386] is DENIED AS MOOT.

       (3)     Akram Abdul Karim Berro’s (D-4) February 15, 2006 Motion for Disclosure of

               Brady and/or Impeachment Materials Relating to Government Witnesses [Docket

               # 381] is DENIED AS MOOT.

       (4)     Abdul Halim Berro’s (D-7) June 20, 2005 Motion to Increase the Number of

               Peremptory Challenges [Docket # 278] is DENIED WITHOUT PREJUDICE.

       (5)     Houda Mohamad Berro’s (D-15) February 8, 2006 Motion to Exclude Evidence

               of Alleged Flight [Docket # 373] is DENIED WITHOUT PREJUDICE.

       (6)     Akram Abdul Karim Berro’s (D-4) February 15, 2006 Motion to Suppress
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              Evidence Seized under Wiretaps or for Evidentiary Hearing pursuant to Franks v.

              Delaware [Docket # 385] is DENIED.

       (7)    Ali Abdul Karim Farhat (D-1) and Abdulamir Berro’s (D-2) February 15, 2006

              Motion to Suppress Fruits of Electronic Surveillance [Docket # 383] is DENIED.

       (8)    Abdul Halim Berro’s (D-7) June 20, 2005 Motion in Limine to Exclude 404(b)

              Evidence [Docket # 276] is DENIED WITHOUT PREJUDICE.

       (9)    Houda Mohamad Berro’s (D-15) February 8, 2006 Motion to Exclude Evidence

              of Other Acts pursuant to FRE 404(b) [Docket # 374] is DENIED WITHOUT

              PREJUDICE.

       (10)   Nassib Saadallah Berro’s (D-18) March 9, 2006 Motion to Dismiss Indictment

              due to Pre-Indictment Delay and Request for Evidentiary Hearing [Docket # 426]

              is DENIED.

       (11)   Nassib Saadallah Berro’s (D-18) March 9, 2006 Motion to Suppress

              Statement/Confession and Request for Evidentiary Hearing [Docket # 424] is

              DENIED.

        These rulings also apply to any Defendants who joined in the relief requested in the

above motions.

       SO ORDERED.

                            s/John Corbett O’Meara
                            John Corbett O’Meara
                            United States District Judge


Dated: April 7, 2006




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